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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ADARE PHARMACEUTICALS, INC. and TEVA
PHARMACEUTICALS INTERNATIONAL GMBH

Plainti/j%,
v.

)
)
)
)
) C.A. NO. 14-1038-MSG-sRF
)
APOTEX INC. and APOTEX CoRP., §
)

Defendants.

STIPULATION AND ORDER OF DISMISSAL BETWEEN PLAINTIFFS

ADARE PHARMACEUTICALS, INC. AND TEVA PHARMACEUTICALS

INTERNATIONAL GMBH AND DEFENDANTS APOTEX INC. AND APOTEX CORP.

Plaintiffs Adare Pharmaceuticals, Inc. and Teva Pharmaccuticals International GmbH
(“Plaintiffs”) and defendants Apotex lnc. and Apotex Corp. (“Defendants”) have agreed to terms
and conditions representing a negotiated settlement of this action and have set forth those terms
and conditions in a Settlement and License Agreement, dated August 28, 2018 (the “Settlcment
and License Agreement”). Plaintiff and Defendants are referred to herein collectively as the
“M” and each individually as a “M.” Now the Parties, having consented and stipulated to
the entry of this Stipulation and Order of Dismissal, as follows:

IT IS HEREBY ORDERED AND DECREED that:

l. Pursuant to the Settlement and License Agreement, Defendants have stipulated to
the entry of a preliminary injunction in the event of an uncured material breach by Defendants of
certain terms of the Settlement and License;

2. In view of, and Subject to the provisions of the Settlement and License
Agreement, and by agreement of the Parties, this action is hereby dismissed with respect solely
to Defendants, without prejudice, With each Party bearing its own costs, attorneys’ fees, and

expenses incurred in connection with this action; and

 

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3. This Court retains jurisdiction to enforce or supervise performance under this

Stipulation and Order of Dismissal and the Settlement and License Agreement.

SO STIPULATED:
Dated: September 7, 2018

FlsH & RICHARDsoN P.C.

/s/ Susan E. Morrison

Susan E. Morrison (#4690)

Kelly Allenspach Del Dotto (#5969)
222 Delaware Avenue, 17th Floor
Wilmington, DE 19899

(302) 652-5070

morrison@fr.com

kad@fr.com

Attorneysfor Plal`ntl`ffs, Adare
Pharmaceuticals, lnc. and T eva
Pharmaceuticals International GmbH

PHILLIPs GoLDMAN MCLAUGHLIN & PLALL,
P.A.

/s/ John C. Phillil)s, Jr.

John C. Phillips, Jr. (#110)
Megan C. Haney (#5016)
1200 North Broom Street
Wilmington, DE 19806-4204
(302) 655-4200 Telephone
(302) 655-4120 Facsimile
jvp@pgmhlaw.com
mch@pgmhlaw.com

Attorneys for Defendants Apotex lnc. and
Apotex Corp.

IT IS SO ORDE D DECREED this May of% 2018 by:

The Honorable Mitchell S. Goldberg
United States District Judge

    

 

